(Rev. 12/03) Judgment in a Criminal Case
Sheet 1 TXND Mod - 09/28/04

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UNITED STATES DistRicTCourp — | MV 23 2007

Northern Districtof Texas - Dallas Div sionCLERK, U.S.DISTRIC COURT

By
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE f2y
Vv.
CARLTON NALLEY Case Number: 3:08-CR-171-M (03)

USM Number: 72905-083
Roderick Chnistopher White

Defendant’s Attorney

THE DEFENDANT:
[ | pleaded guilty to count(s)

pleaded guilty to count(s) before a U.S. Counts 1 and 2 of the superseding Information, filed on February 10, 2009
Magistrate Judge, which was accepted
by the court.

pleaded nolo contendere to count(s)
which was accepted by the court.

was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended

Count
18 U.S.C. § 1513(H (18 Conspiring to Obstruct Justice May 2008 1
U.S.C. § 1513(e))
18 U.S.C. § 371 (18 U.S.C. Conspiracy to Use Access Devices to Modify Telecommunications May 2008 2
§§ 1029(a)(9), 1010(a)(5) Instruments and to Make Unauthorized Access to Protected
(A)(ii) & B(iv)) Telecommunications Computers
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

The defendant has been found not guilty on count(s) :

Count(s) of original Indictment, filed on June 3, 2008, [ is are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay ‘restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

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sk igniature WBA }
BARBARA M. G. LYNN [

UNITED STATES DIST

Name and Title of Judge

November 23, 2009

Date

JUDGE

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AO 245B (Rev. 12/03) Judgment in Criminal Case
Sheet 2 — Imprisonment TXND Mod - 9/28/04

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DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

IMPRISONMENT

Pursuant to the Sentencing Reform Act of 1984, but taking the Guidelines as advisory pursuant to United States v. Booker, and

considering the factors set forth in 18 U.S.C. Section 3553(a), the defendant is hereby committed to the custody of the United States Bureau -
of Prisons to be imprisoned for a total term of: NINE (9) YEARS on Count 1, and FIVE (5) YEARS on Count 2, to run

concurrently with each other, for a total imprisonment term of NINE (9) YEARS.

The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that the Defendant participate in anger management classes while incarcerated, if appropriate.

The defendant is remanded to the custody of the United States Marshal.

[ The defendant shall surrender to the United States Marshal for this district:

[| at [_ Jam. [ ] p.m. on

[| as notified by the United States Marshal.

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before on

as notified by the United States Marshal.
[| as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/03) Judgment in a Criminal Case

Sheet 3 —- Supervised Release

Judgment—Page 3 of 8

DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

Upon release from imprisonment, the defendant shall be on supervised release for a term of : TWO (2) YEARS on each of Counts 1 and 2

SUPERVISED RELEASE

to run concurrently with each other, for a total supervised release term of TWO (2) YEARS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

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The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule of Payments sheet of this judgment.

on the attached page.
STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of.
each month;
3) _ the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer; *
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons; “
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and
13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.

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3) Judgment in a Criminal Case
Sheet 3C — Supervised Release

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DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

SPECIAL CONDITIONS OF SUPERVISION

Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the amount of
$79,440.60, payable to the U.S. District Clerk, 1100 Commerce Street, Room 1452, Dallas, Texas 75242. Restitution shall be
payable immediately, joint and several with the defendants in related cases 3:07-CR-196-B and 3:07-CR-111-K, and any
remaining balance shall be payable during incarceration. Restitution shall be disbursed to:

AT&T

Attn.: Mr. Derek A. Zamagni,

CCP Area Manager, Asset Protection
$14,560

Ref.: Rosoff, et al

EMBARQ

Attn.: Mr. Dallas L. Hayden,

Manager, Investigations and Law Enforcement Support
Corporate Security

$5,364.01

Re: EM-110206-28

Rosoff, et al

Verizon

Attn.: John Lewandowski, Manager of Fraud Investigations
$48,872

Re: Rosoff, et al

Snohomish County Sheriff
Attn.: Detective Larry Cole
$2,467.72

Ref.: Rosoff, et al

James Proulx
$880
Ref.: Rosoff, et al

Stephanie Proulx
$300
Ref.: Rosoff, et al

Photographix, Inc.
Attn.: Mr. Tom Welch
$1,000

Ref.: Rosoff, et al

Lewis Lysak
$135
Ref.: Rosoff, et al

Anthony Messina
$5,861.87
Ref.: Rosoff, et al

If upon commencement of the term of supervised release any part of the restitution remains unpaid, the defendant shall make
payments on such unpaid balance beginning 60 days after release from custody at the rate of at least $50 per month until the .
restitution is paid in full, Furthermore, it ordered that interest on the unpaid balance is waived pursuant to 18 U.S.C. § 3612(f)(3).
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gment in a Crimina!
Sheet 3C — Supervised Release TXND Add - 09/28/04

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DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

SPECIAL CONDITIONS OF SUPERVISION

Unless the restitution payment schedule is modified, the Court intends that garnishment is available only to the extent that
restitution payments are currently due and owing under the set payment schedule.

The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation Officer, as authorized by the Justice for
All Act of 2004.

The defendant shall pay any remaining balance of restitution in the amount of $79,440.60, as set out in this Judgment.
The defendant shall provide to the U.S. Probation Officer any requested financial information.

The defendant shall participate in mental health treatment services as directed by the U.S. Probation Officer until successfully
discharged. These services may include medications prescribed by a licensed physician.

The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S. Probation Office for treatment of ©
narcotic, drug, or alcohol dependency, which will include testing for the detection of substance use or abuse. The defendant shall
abstain from the use of alcohol and/or all other intoxicants during and after completion of treatment.

The defendant shall not access any service or use any software which allows for direct peer to peer contact which may include chat
rooms, file sharing, or other similar activity without permission from the U.S. Probation Officer.

The defendant shall submit to periodic unannounced examination of his/her computer(s), storage media, and/or other electronic or
Internet-capable device performed by the probation officer at a reasonable time and in a reasonable manner based on reasonable
suspicion of contraband evidence of a violation of supervision. This may include the retrieval and copying of any prohibited data
and/or the removal of such system for the purpose of conducting a more thorough inspection. The defendant shall provide written
authorization for release of information from the defendant’s Internet service provider.

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Sheet 5 — Criminal Monetary Penalties TXND Mod 2 - 09/28/04

Judgment — Page 6 of 8

DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200.00 $ $ 79,440.60

The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

The defendant must make restitution (including community restitution), payable to the U.S. District Clerk to be disbursed to the
following payee(s) in the amount(s) listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Restitution Ordered Priority or Percentage
AT&T $ 14,560

Attn.: Mr. Derek A. Zamagni,
CCP Area Manager, Asset Protection
Ref.: Rosoff, et al

EMBARQ $ 5,364.01
Attn.: Mr. Dallas L. Hayden,

Manager, Investigations and Law Enforcement Support

Corporate Security

Re: EM-110206-28

Rosoff, et al

Verizon $ 48,872
Attn.: John Lewandiwski, Manager of Fraud Investigations
Re: Rosoff, et al

Snohomish County Sheriff $ 2,467.72
Atin.: Detective Larry Cole
Ref.: Rosoff, et al

TOTALS $ 79,440.60

[| Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 361 2(g).

ft
The court determined that the defendant does not have the ability to pay interest and it is ordered that:

the interest requirement is waived for the [] fine restitution.

[| the interest requirement for the [| fine [__ J restitution is modified as follows: :

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Sheet 5B — Criminal Monetary Penalties TXND Mod 1- 09/28/04

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DEFENDANT: CARLTON NALLEY
CASE NUMBER:3:08-CR-171-M (03)

ADDITIONAL RESTITUTION PAYEES

Priority or

Name of Payee Restitution Ordered Percentage
James Proulx $ 880

Ref.: Rosoff, et al

Stephanie Proulx $ 300
Ref.: Rosoff, et al

Photographix, Inc. $ 1,000
Attn.: Mr. Tom Welch
Ref.: Rosoff, et al

Lewis Lysak $ 135
Ref.: Rosoff, et al

Anthony Messina $ 5,861.87
Ref.: Rosoff, et al

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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments TXND Mod 1 - 09/28/04

Judgment — Page 8 of 8

DEFENDANT: CARLTON NALLEY
CASE NUMBER: 3:08-CR-171-M (03)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [| Lump sum payment of $ due immediately, balance due

not later than

,or
in accordance | | C, | | D, [| E, or [ |r below; or
B [| Payment to begin immediately (may be combined with [] Cc, [_ |p. or LF below); or

Cc [| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D Payment in equal _ monthly __ (e.g., weekly, monthly, quarterly) installments of $ 50.00 _ over a period of
XXXXXXXX (e.g., months or years), to commence _ 60 days _(e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $200, for Counts 1, and 2, which
shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

“xj

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the U.S. District Clerk, 1100 Commerce Street, 14th Floor, Dallas, Texas 75242.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Stuart Rosoff (01), Jason Trowbridge (02), Chad Ward (03), Angela Roberson (04), 3:07-CR-196-M, $79,440.60
Guadalupe Santana Martinez (01), 3:07-CR-111-K, $79,440.60

[| The defendant shall pay the cost of prosecution.
[| The defendant shall pay the following court cost(s):

[| The defendant shall forfeit the defendant’s interest in the following property to the United States: See Sheet 6B.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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CASE CLOSED

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CASE NUMBER:_-2308-C4-/"JJe it (3.

DATE: HP

TRIAL: YES ____ NO

